Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 1 of 23 PageID #: 278




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


ELBA POPPITI and MICHAEL DESTIO,                 )
individually and on behalf                       )
of all others similarly situated,                )
                                                 )
                Plaintiffs,                      )   Case No.: 4:19-cv-02028-SNLJ
v.                                               )
                                                 )
UNITED INDUSTRIES CORP.                          )
and SPECTRUM BRANDS, INC.,                       )
                Defendants.                      )


                UNITED INDUSTRIES CORPORATION’S ANSWER TO
                  FIRST AMENDED CLASS ACTION COMPLAINT

          UIC United Industries Corporation (“UIC”), by and through counsel, submits the

following as its Answer to the First Amended Class Action Complaint (“Complaint”)

filed by plaintiffs Elba Poppiti and Michael Destio (“Plaintiffs”).1 Except as expressly

admitted, UIC denies each and every allegation in the Complaint as stated below.




1
 On March 24, 2020, the Court dismissed defendant Spectrum Brands, Inc. (“Spectrum”)
from this action. See Docket No. 34. Plaintiffs did not thereafter file an amended
complaint removing allegations against Spectrum. The Complaint, in large part,
continues to use collective references to “Defendants.” This Answer is solely on behalf
of UIC and does not address any allegations against the now-dismissed Spectrum.


1852608
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 2 of 23 PageID #: 279




                              NATURE OF THE ACTION2


          1.   Answering Paragraph 1, UIC admits that Plaintiffs seek to bring a putative

class action on behalf of purchasers of Cutter Citro Guard Citronella Candles and Repel

Insect Repellent Citronella Candles, which Plaintiffs define as the “Citronella Candles”

or the “Products,” as alleged in the Complaint, and otherwise denies any remaining

allegations, and specifically denies that Plaintiffs are entitled to bring or maintain this

purported class action or are entitled to any relief whatsoever.

          2.   Answering Paragraph 2, UIC admits that, at certain periods of time, it

manufactured and distributed certain Citronella Candles, states that the purported Product

labels, packaging, formulas, and composition speak for themselves, and denies any

remaining and/or inconsistent allegations.

          3.   Answering Paragraph 3, UIC admits that the Products came in packaging

and that the quoted language appears on the packaging images included in the Complaint,

and denies any remaining and/or inconsistent allegations.

          4.   Answering Paragraph 4, UIC denies the allegations contained therein.

          5.   Answering Paragraph 5, UIC admits that the quoted language appears

(without the emphasis) in the referenced articles and/or publications, states that they

otherwise speak for themselves, and denies knowledge or information sufficient to form a

belief as to the truth of any remaining and/or inconsistent allegations which UIC

therefore denies based on said lack of knowledge or information.

2
 All headings are as stated in the Complaint; to the extent response is required to such
headings, UIC denies any allegations set forth therein.


1852608                                       2
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 3 of 23 PageID #: 280




          6.    Answering Paragraph 6, UIC admits that the quoted language appears in the

referenced article and/or publication, states that it otherwise speaks for itself, and denies

knowledge or information sufficient to form a belief as to the truth of any remaining

and/or inconsistent allegations which UIC therefore denies based on said lack of

knowledge or information.

          7.    Answering the first sentence of Paragraph 7, UIC denies the allegations

contained therein. Answering the remainder of Paragraph 7, UIC admits that the quoted

language appears (without the emphasis) in the referenced press release, states that it

otherwise speaks for itself, and denies any remaining and/or inconsistent allegations.

          8.    Answering Paragraph 8, UIC admits that, at certain periods of time, it

manufactured and distributed certain Citronella Candles and that the quoted language

appears in the referenced press release, states that the referenced press release otherwise

speaks for itself, and denies any remaining and/or inconsistent allegations.

          9.    Answering the first sentence of Paragraph 9, UIC denies the allegations

contained therein. Answering the second, third, and fourth sentences of Paragraph 9,

UIC admits that the quoted language appears in the referenced program, states that it

otherwise speaks for itself, and denies knowledge or information sufficient to form a

belief as to the truth of any remaining and/or inconsistent allegations which UIC

therefore denies based on said lack of knowledge or information.

          10.   Answering Paragraph 10, UIC denies the program language, as quoted,

appears in the referenced program, states that it otherwise speaks for itself, and denies

knowledge or information sufficient to form a belief as to the truth of any remaining


1852608                                      3
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 4 of 23 PageID #: 281




and/or inconsistent allegations which UIC therefore denies based on said lack of

knowledge or information.

          11.   Answering Paragraph 11, UIC denies the program language, as quoted in

the first quote, appears in the referenced program, admits that the remainder of the quoted

language appears in the referenced program, states that it otherwise speaks for itself, and

denies knowledge or information sufficient to form a belief as to the truth of any

remaining and/or inconsistent allegations which UIC therefore denies based on said lack

of knowledge or information.

          12.   Answering Paragraph 12, UIC admits the quoted language appears in the

referenced program, states that it otherwise speaks for itself, and denies knowledge or

information sufficient to form a belief as to the truth of any remaining and/or inconsistent

allegations which UIC therefore denies based on said lack of knowledge or information.

          13.   Answering Paragraph 13, UIC denies being aware of the referenced

program prior to its airing, admits that, at some point in time, UIC became aware of the

referenced program, admits that it cares about its reputation and regularly monitors its

publicity, states that the referenced program otherwise speaks for itself, denies

knowledge or information sufficient to form a belief as to the truth of allegations as they

relate to “most companies,” which UIC therefore denies based on said lack of knowledge

or information, and denies any remaining and/or inconsistent allegations.

          14.   Answering Paragraph 14, UIC denies the allegations contained therein.




1852608                                      4
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 5 of 23 PageID #: 282




          15.   Answering the first sentence of Paragraph 15, UIC denies the allegations

contained therein. Answering the second sentence of Paragraph 15, UIC admits it has

sold millions of units of the Products throughout the United States.

          16.   Answering Paragraph 16, UIC admits that Plaintiffs seek to bring a putative

class action as alleged in the Complaint, and otherwise denies the allegations, and

specifically denies that alleged purchasers of the Products are similarly situated and

denies that Plaintiffs are entitled to bring or maintain this purported class action or are

entitled to any relief whatsoever.

                                         PARTIES

          17.   Answering the first through the fifth sentences of Paragraph 17, UIC denies

knowledge or information sufficient to form a belief as to the truth of the allegations

contained therein regarding plaintiff Elba Poppiti and her purported purchase and use of

the alleged Product, which allegations UIC therefore denies based on said lack of

knowledge or information, and denies any remaining and/or inconsistent allegations.

Answering the last sentence of Paragraph 17, UIC denies the allegations contained

therein.

          18.   Answering the first through the fifth sentences of Paragraph 18, UIC denies

knowledge or information sufficient to form a belief as to the truth of the allegations

contained therein regarding plaintiff Michael Destio and his purported purchase and use

of the alleged Product, which allegations UIC therefore denies based on said lack of

knowledge or information, and denies any remaining and/or inconsistent allegations.



1852608                                       5
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 6 of 23 PageID #: 283




Answering the last sentence of Paragraph 18, UIC denies the allegations contained

therein.

          19.   Answering the first sentence of Paragraph 19, UIC admits that it is a

Delaware corporation with its principal place of business in Earth City, Missouri.

Answering the second and third sentences of Paragraph 19, UIC denies it is a subsidiary

of “Spectrum Brands,” as alleged in the Complaint, admits that it is a subsidiary of

Spectrum Brands, Inc., states that, at certain periods of time, it manufactured certain

consumer insect repellent products, including the Products, and denies any remaining

allegations.

          20.   Answering Paragraph 20, UIC states that the Court dismissed Spectrum

Brands, Inc. from this action and the allegations thus require no response, but to the

extent any further response is required, UIC admits that Spectrum Brands, Inc. is a

Delaware corporation with its principal place of business in Middleton, Wisconsin, and

denies any remaining allegations.

                             JURISDICTION AND VENUE

          21.   Answering Paragraph 21, UIC admits that Plaintiffs purport to assert

jurisdiction pursuant to 28 U.S.C. § 1332(d) and further states that the allegations set

forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies the allegations.

          22.   Answering Paragraph 22, UIC admits that Plaintiffs purport to assert venue

pursuant to 28 U.S.C. § 1391 and further states that the allegations set forth legal



1852608                                      6
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 7 of 23 PageID #: 284




conclusions that do not require a response, but, to the extent any further response is

required, UIC denies the allegations.

          23.   Answering Paragraph 23, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies the allegations.

                     CLASS REPRESENTATION ALLEGATIONS

          24.   Answering Paragraph 24, UIC admits that Plaintiffs purport to seek to

represent a class and provide a proposed definition of the putative class, and, except as

expressly admitted, denies the allegations contained therein and specifically denies that

Plaintiffs are entitled to bring or maintain this purported class action.

          25.   Answering Paragraph 25, UIC admits that Plaintiffs purport to seek to

represent a subclass and provide a definition of the putative subclass, and, except as

expressly admitted, denies the allegations contained therein and specifically denies that

Plaintiffs are entitled to bring or maintain this purported class action.

          26.   Answering Paragraph 26, UIC denies that Plaintiffs are entitled to bring or

maintain this purported class action and states that the allegations contained therein set

forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies knowledge or information sufficient to form a belief as

to the truth of the allegations contained therein regarding the purported number or

identity of putative members which allegations UIC therefore denies based on said lack




1852608                                        7
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 8 of 23 PageID #: 285




of knowledge or information, and specifically denies that Plaintiffs are entitled to bring or

maintain this purported class action.

          27.   Answering Paragraph 27, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies that common questions or fact or law predominate,

denies that Plaintiffs are entitled to bring or maintain this purported class action, and

denies that UIC engaged in any wrongdoing.

          28.   Answering Paragraph 28, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies that Plaintiffs are entitled to bring or maintain this

purported class action, denies that Plaintiffs or any putative class member suffered any

injury or damages, and denies that UIC engaged in any wrongdoing.

          29.   Answering Paragraph 29, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies that Plaintiffs are entitled to bring or maintain this

purported class action and further denies knowledge or information sufficient to form a

belief as to the truth of any remaining and/or inconsistent allegations contained therein

which UIC therefore denies based on said lack of knowledge or information.

          30.   Answering Paragraph 30, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies that Plaintiffs are entitled to bring or maintain this

purported class action, denies that Plaintiffs or any putative class member suffered any


1852608                                      8
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 9 of 23 PageID #: 286




injury or damages, and denies that UIC engaged in any wrongdoing. UIC further denies

knowledge or information sufficient to form a belief as to the truth of any remaining

and/or inconsistent allegations contained therein which UIC therefore denies based on

said lack of knowledge or information.

                                        COUNT I
                Deceptive Acts Or Practices, New York Gen. Bus. Law § 349

          31.   Answering Paragraph 31, UIC admits that Plaintiffs purport to incorporate

by reference and re-allege, and UIC repeats and re-alleges each and every admission,

denial, and statement contained above with the same force and effect as though set forth

here in full.

          32.   Answering Paragraph 32, UIC admits that Plaintiffs purport to bring the

alleged claim individually and on behalf of putative class members, and denies that

Plaintiffs are entitled to bring or maintain said claim individually or on behalf of the

purported class or subclass. Except as expressly admitted, UIC denies any remaining

allegations.

          33.   Answering Paragraph 33, UIC denies the allegations contained therein and

further states that the allegations contained therein also set forth legal conclusions that do

not require a response, but, to the extent any further response is required, UIC denies the

allegations.

          34.   Answering Paragraph 34, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent any further

response is required, UIC denies the allegations.


1852608                                       9
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 10 of 23 PageID #: 287




          35.   Answering Paragraph 35, UIC denies the allegations contained therein and

further states that the allegations contained therein also set forth legal conclusions that do

not require a response, but, to the extent any further response is required, UIC denies the

allegations.

          36.   Answering Paragraph 36, UIC denies the allegations contained therein, and

specifically denies that Plaintiffs or any putative class member are entitled to any relief

from the Court, denies that Plaintiffs or any putative class member suffered any injury or

damages, and denies that UIC engaged in any wrongdoing.

          37.   Answering Paragraph 37, UIC denies that Plaintiffs or any putative class

member suffered any injury or damages, denies that UIC engaged in any wrongdoing,

denies that Plaintiffs or any putative class member are entitled to any relief from the

Court, and further states that the Court dismissed Plaintiffs’ claims for injunctive relief.

                                        COUNT II
                    False Advertising, New York Gen. Bus. Law § 350

          38.   Answering Paragraph 38, UIC admits that Plaintiffs purport to incorporate

by reference and re-allege, and UIC repeats and re-alleges each and every admission,

denial, and statement contained above with the same force and effect as though set forth

here in full.

          39.   Answering Paragraph 39, UIC admits that Plaintiffs purport to bring the

alleged claim individually and on behalf of putative class members, and denies that

Plaintiffs are entitled to bring or maintain said claim individually or on behalf of the




1852608                                       10
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 11 of 23 PageID #: 288




purported class or subclass. Except as expressly admitted, UIC denies any remaining

allegations.

          40.   Answering Paragraph 40, UIC denies the allegations contained therein,

denies that UIC engaged in any wrongdoing, and further states that the allegations

contained therein also set forth legal conclusions that do not require a response, but, to

the extent any further response is required, UIC denies the allegations.

          41.   Answering Paragraph 41, UIC denies the allegations contained therein,

denies that UIC engaged in any wrongdoing, and further states that the allegations

contained therein also set forth legal conclusions that do not require a response, but, to

the extent any further response is required, UIC denies the allegations.

          42.   Answering Paragraph 42, UIC denies the allegations contained therein,

denies that UIC engaged in any wrongdoing, denies that the public interest, Plaintiffs, or

any putative class member suffered any injury or damages, and further states that the

allegations contained therein also set forth legal conclusions that do not require a

response, but, to the extent any further response is required, UIC denies the allegations.

          43.   Answering Paragraph 43, UIC denies the allegations contained therein, and

specifically denies that Plaintiffs or any putative class member are entitled to any relief

from the Court, denies that Plaintiffs or any putative class member suffered any injury or

damages, and denies that UIC engaged in any wrongdoing.

          44.   Answering Paragraph 44, UIC denies that Plaintiffs or any putative class

member suffered any injury or damages, denies that UIC engaged in any wrongdoing,




1852608                                      11
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 12 of 23 PageID #: 289




denies that Plaintiffs or any putative class member are entitled to any relief from the

Court, and further states that the Court dismissed Plaintiffs’ claims for injunctive relief.

                                       COUNT III
                               Breach of Express Warranty

          45.   Answering Paragraph 45, UIC admits that Plaintiffs purport to incorporate

by reference and re-allege, and UIC repeats and re-alleges each and every admission,

denial, and statement contained above with the same force and effect as though set forth

here in full.

          46.   Answering Paragraph 46, UIC admits that Plaintiffs purport to bring the

alleged claim individually and on behalf of putative class members, and denies that

Plaintiffs are entitled to bring or maintain said claim individually or on behalf of the

purported class or subclass. Except as expressly admitted, UIC denies any remaining

allegations.

          47.   Answering Paragraph 47, UIC admits that the quoted language appears on

the packaging images included in the Complaint and states that the allegations contained

therein set forth legal conclusions that do not require a response, but, to the extent any

further response is required, UIC denies any remaining and/or inconsistent allegations.

          48.   Answering Paragraph 48, UIC denies the allegations contained therein.

          49.   Answering Paragraph 49, UIC denies the allegations contained therein and

states that the allegations contained therein also set forth legal conclusions that do not

require a response, but, to the extent any further response is required, UIC denies that

Plaintiffs or any putative class member are entitled to any relief from the Court, denies


1852608                                       12
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 13 of 23 PageID #: 290




that Plaintiffs or any putative class member suffered any injury or damages, and denies

that UIC engaged in any wrongdoing.

                                      COUNT IV
                                   Unjust Enrichment

          50.   Answering Paragraph 50, UIC admits that Plaintiffs purport to incorporate

by reference and re-allege, and UIC repeats and re-alleges each and every admission,

denial, and statement contained above with the same force and effect as though set forth

here in full.

          51.   Answering Paragraph 51, UIC admits that Plaintiffs purport to bring the

alleged claim individually and on behalf of putative class members, and denies that

Plaintiffs are entitled to bring or maintain said claim individually or on behalf of the

purported class or subclass. Except as expressly admitted, UIC denies any remaining

allegations.

          52.   Answering Paragraph 52, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent a response is

required, UIC denies the allegations.

          53.   Answering Paragraph 53, UIC states that the allegations contained therein

set forth legal conclusions that do not require a response, but, to the extent a response is

required, UIC denies the allegations.

          54.   Answering Paragraph 54, UIC denies the allegations contained therein and

states that the allegations contained therein also set forth legal conclusions that do not

require a response, but, to the extent any further response is required, UIC denies that


1852608                                     13
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 14 of 23 PageID #: 291




Plaintiffs or any putative class member are entitled to any relief from the Court, denies

that Plaintiffs or any putative class member suffered any injury or damages, and denies

that UIC engaged in any wrongdoing.

          55.   Answering Paragraph 55, UIC denies the allegations contained therein and

states that the allegations contained therein also set forth legal conclusions that do not

require a response, but, to the extent any further response is required, UIC denies that

Plaintiffs or any putative class member are entitled to any relief from the Court, denies

that Plaintiffs or any putative class member suffered any injury or damages, and denies

that UIC engaged in any wrongdoing.

                                        COUNT V
                                         Fraud

          56.   Answering Paragraph 56, UIC admits that Plaintiffs purport to incorporate

by reference and re-allege, and UIC repeats and re-alleges each and every admission,

denial, and statement contained above with the same force and effect as though set forth

here in full.

          57.   Answering Paragraph 57, UIC admits that Plaintiffs purport to bring the

alleged claim individually and on behalf of putative class members, and denies that

Plaintiffs are entitled to bring or maintain said claim individually or on behalf of the

purported class or subclass. Except as expressly admitted, UIC denies any remaining

allegations.

          58.   Answering Paragraph 58, UIC states that the Product packaging speaks for

itself and denies any remaining and/or inconsistent allegations contained therein.


1852608                                     14
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 15 of 23 PageID #: 292




          59.   Answering Paragraph 59, UIC denies the allegations contained therein and

further states that the referenced programs and/or publications speak for themselves and

that, at certain periods of time, it manufactured and distributed certain Citronella Candles.

Except as expressly admitted, UIC denies any remaining and/or inconsistent allegations.

          60.   Answering Paragraph 60, UIC denies the allegations contained therein and

states that the allegations contained therein also set forth legal conclusions that do not

require a response, but, to the extent any further response is required, UIC denies the

allegations.

          61.   Answering Paragraph 61, UIC denies that Plaintiffs or any putative class

member suffered any injury or damages, denies that UIC engaged in any wrongdoing,

denies that Plaintiffs or any putative class member are entitled to any relief from the

Court, and further states that the Court dismissed Plaintiffs’ claims for injunctive relief.

                                  RELIEF DEMANDED

          62.   UIC denies that Plaintiffs or any putative class member are entitled to any

relief whatsoever, and further states that the Court dismissed Plaintiffs’ claims for

injunctive relief.

                               JURY TRIAL DEMANDED

          63.   UIC denies that Plaintiffs or any putative class member are entitled to a

jury on any issues triable to the Court.




1852608                                       15
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 16 of 23 PageID #: 293




                                  SEPARATE DEFENSES

          64.   Without waiving or excusing Plaintiffs’ and/or putative class members’

burden of proof or admitting that any of the following are in fact defenses upon which

UIC has any burden of proof as opposed to denials of matters as to which Plaintiffs

and/or putative class members have the burden of proof, or that UIC has any burden of

proof at all, UIC hereby asserts the following affirmative defenses:

                            FIRST AFFIRMATIVE DEFENSE
                                      (Standing)

          65.   Plaintiffs lack standing to bring this action or any purported claim for relief

alleged in the Complaint.

                           SECOND AFFIRMATIVE DEFENSE
                               (Failure To State A Claim)

          66.   The Complaint and any purported claims for relief alleged therein fail to

state a claim upon which relief can be granted.

                          THIRD AFFIRMATIVE DEFENSE
                 (Failure To Allege Fraud With Sufficient Particularity)

          67.   Plaintiffs have failed to allege fraud with sufficient particularity and/or to

adequately allege scienter and/or reliance, to state a claim based on fraud upon which

relief can be granted.




1852608                                        16
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 17 of 23 PageID #: 294



                          FOURTH AFFIRMATIVE DEFENSE
          (Failure To Allege New York General Business Law Section 350 Claim)

          68.   Plaintiffs have failed to adequately allege their New York General Business

Law Section 350 Claim, including but not limited to Plaintiffs’ reliance, to state a claim upon

which relief can be granted.

                           FIFTH AFFIRMATIVE DEFENSE
                    (Failure To State A Claim For Punitive Damages)

          69.   The Complaint and any purported claims for relief alleged therein fail to

state facts sufficient to recover punitive or exemplary damages.

                         SIXTH AFFIRMATIVE DEFENSE
                  (No Damages / No Injury In Fact / Lack Of Causation)

          70.   Neither Plaintiffs nor any putative class member have suffered any

damages or injury in fact by reason of any act or omission by UIC. The Complaint and

any purported claims for relief alleged therein are barred, in whole or in part, because

neither Plaintiffs nor any putative class member suffered any actual injury by reason of

any of UIC’s acts, conduct, or omissions as alleged in the Complaint, and/or any alleged

injury was not causally related to any of UIC’s acts, conduct, or omissions as alleged in

the Complaint.

                         SEVENTH AFFIRMATIVE DEFENSE
                          (Punitive Damages Unconstitutional)

          71.   To the extent applicable, neither Plaintiffs nor any putative class member

are entitled to recover any punitive or exemplary damages on the grounds that any award

of punitive or exemplary damages under federal and/or state law in general, and/or any


1852608                                       17
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 18 of 23 PageID #: 295




such award under federal and/or state law as applied to the facts of this specific action,

would violate the constitutional rights of UIC under provisions of the United States and

state constitutions, including but not limited to the due process clauses of the Fifth and

Fourteenth Amendments of the United States Constitution and the excessive fines and

cruel and unusual punishment clauses of the Eighth Amendment of the United States

Constitution, and similar provisions of each state constitution, including the due process

clause of the Missouri Constitution, Art. I, §10.

                      EIGHTH AFFIRMATIVE DEFENSE
   (Limitations on Warranty and/or Lack of Reliance, Privity, Timely Notice, Etc.)

          72.   To the extent that Plaintiffs rely upon any theory of breach of warranty,

Plaintiffs’ claims are barred, in whole or in part, because any purported warranty was

disclaimed and/or limited and/or because of lack of reliance, timely notice, and/or privity.

                           NINTH AFFIRMATIVE DEFENSE
                               (Statute Of Limitations)

          73.   To the extent any of the conduct complained of occurred outside the

applicable limitations period, the Complaint and any purported claims for relief alleged

therein are barred, in whole or in part, by the applicable statutes of limitation.

                          TENTH AFFIRMATIVE DEFENSE
                              (No Intent To Deceive)

          74.   The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, because of the lack of intent to deceive.




1852608                                       18
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 19 of 23 PageID #: 296



                          ELEVENTH AFFIRMATIVE DEFENSE
                              (Good Faith / Lack Of Malice)

          75.     The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, because the alleged conduct was in good faith, and all of the

alleged conduct, acts, and/or omissions were undertaken without malice.

                           TWELFTH AFFIRMATIVE DEFENSE
                            (Compliance With Legal Obligations)

          76.     The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, because UIC complied, or sought in good faith to comply,

with all of its legal obligations under the applicable laws.

                       THIRTEENTH AFFIRMATIVE DEFENSE
                (Conduct Consistent With Law And Applicable Regulations)

          77.     The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, because UIC’s conduct was consistent with the law and

applicable regulations.

                       FOURTEENTH AFFIRMATIVE DEFENSE
                (Comparative And/Or Contributory Negligence And/Or Fault)

          78.     If Plaintiffs and/or the putative class members suffered or sustained any

damage or injury, either as alleged in the Complaint, or at all, which UIC denies, it was

caused by and attributable to the negligence, recklessness, carelessness, fault, fraud,

and/or unlawful conduct of parties other than UIC.




1852608                                       19
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 20 of 23 PageID #: 297



                        FIFTEENTH AFFIRMATIVE DEFENSE
                               (Failure To Mitigate)

          79.   Plaintiffs and/or the putative class members have failed to make reasonable

efforts to mitigate the alleged damages they claim to have suffered. Accordingly, the

relief, if any, to which Plaintiffs and/or the putative class members are entitled, which

UIC denies, must be diminished by the extent that such damages could have been

mitigated.

                       SIXTEENTH AFFIRMATIVE DEFENSE
                   (Failure To Comply With Statutory Requirements)

          80.   The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, by Plaintiffs’ and/or the putative class members’ failure to

comply with statutory requirements that are conditions precedent to bringing and/or

maintaining this action and/or to the recovery of the relief sought herein, including but

not limited to notification and timeliness requirements.

                      SEVENTEENTH AFFIRMATIVE DEFENSE
                              (Class Action Waiver)

          81.   The Complaint and any purported claims for relief alleged therein on behalf

of Plaintiffs and/or putative class member, or some of them, are barred, in whole or in

part, by class and/or collective action waiver pursuant to Plaintiffs’ and/or putative class

members’ agreement in connection with the purchase of the Products and/or their use.

UIC reserves the right to file motion(s) in connection with said class action waiver as

provided and allowed by law.


1852608                                      20
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 21 of 23 PageID #: 298



                       EIGHTEENTH AFFIRMATIVE DEFENSE
                          (Arbitration As Exclusive Remedy)

          82.   The Complaint and any purported claims for relief alleged therein on behalf

of Plaintiffs and/or putative class member, or some of them, are barred, in whole or in

part, on the ground that the exclusive remedy for such claims is final and binding

arbitration pursuant to Plaintiffs’ and/or putative class members’ agreement in connection

with the purchase of the Products and/or their use, and Plaintiffs and/or the putative class

members have failed to pursue or exhaust said arbitration procedure. UIC reserves the

right to file motion(s) in connection with said arbitration as provided and allowed by law.

                      NINETEENTH AFFIRMATIVE DEFENSE
                (Res Judicata / Collateral Estoppel / Settlement / Release)

          83.   The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, by the doctrines of res judicata, collateral estoppel, settlement,

and/or release.

                       TWENTIETH AFFIRMATIVE DEFENSE
                           (Laches / Waiver / Estoppel)

          84.   The Complaint and any purported claims for relief alleged therein are

barred, in whole or in part, by the doctrines of laches, waiver, and/or estoppel.

                      TWENTY-FIRST AFFIRMATIVE DEFENSE
                             (Reservation Of Rights)

          85.   UIC does not presently know all of the facts and circumstances respecting

Plaintiffs’ claims. UIC reserves the right to assert additional defenses and affirmative

defenses as they become known.


1852608                                       21
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 22 of 23 PageID #: 299




          WHEREFORE, UIC prays for judgment as follows:

          1.   That neither Plaintiffs nor any putative class member take anything by way

of the Complaint, and that the same be dismissed with prejudice on the merits;

          2.   That judgment be entered in favor of UIC and against Plaintiffs and (should

the case be certified) against the putative class members;

          3.   That UIC be awarded reasonable attorneys’ fees and costs of suit herein, as

provided by law; and

          4.   That UIC be granted such further and other relief as the Court deems just

and proper.




1852608                                     22
Case: 4:19-cv-02028-SNLJ Doc. #: 38 Filed: 04/17/20 Page: 23 of 23 PageID #: 300




DATED: April 17, 2020                    Respectfully submitted,

                                         GREENSFELDER, HEMKER & GALE, P.C.


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                                         Corporation

                             CERTIFICATE OF SERVICE

          The undersigned certifies that on this 17th day of April, 2020, the foregoing

document was filed electronically with the Clerk of Court to be served by operation of

the Court’s electronic filing system upon all counsel of record.




                                                 /s/ Mary Ann L. Wymore

1852608                                     23
